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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

ELIZABETH BALL,                                )
                                               )
      Plaintiff,                               )
                                               )
      v.                                       )
                                               )
CITY OF CHICAGO, CHICAGO POLICE                )
OFFICERS BRUCE PHIPPS, #20058,                 )
WILFREDO TORRES, JR., #2231, and               )
JOHN DOES,                                     )
                                               )
      Defendants.                              )     Jury Demand



                                    COMPLAINT

     1.       In the summer of 2020, Plaintiff Elizabeth Ball, as well as thousands

of organizers, activists, and community leaders in Chicago, mobilized in a

repudiation of anti-Black racism, white supremacy, police violence, and mass

criminalization and incarceration. Millions joined demonstrations around the

globe—often lifting up the names of George Floyd, Breonna Taylor, Tony McDade,

and scores of other Black people killed by police.

     2.       The Chicago Police Department (“CPD”) and other City agencies

responded to these demonstrations with brutal, violent, and unconstitutional tactics

that were clearly intended to injure, silence, and intimidate Plaintiff Ball and other

protesters.




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      3.      As explained in more detail below, Plaintiff was assaulted and falsely

arrested by CPD Officers while posing no threat to anyone, interfering with

Plaintiff’s constitutional rights.

      4.      CPD’s unconstitutional actions have caused Plaintiff significant harm,

including the violation of Plaintiff’s constitutional rights as well as physical,

emotional, and mental injuries.

                           JURISDICTION AND VENUE

      5.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343(a).

This Court has supplemental jurisdiction under 28 U.S.C. § 1367(a) over claims

arising under Illinois state law.

      6.      Venue is proper in this district under 28 U.S.C. § 1391(b) because the

events giving rise to the claims asserted in this complaint occurred in this judicial

district.

                                       PARTIES

      7.      Plaintiff Elizabeth Ball is 30 years old and was 29 years old at the time

of the incidents giving rise to this Complaint. Plaintiff Ball is a white resident of

Chicago, Illinois, is a licensed clinical social worker and is currently self-employed

as a psychotherapist.

      8.      Defendant City of Chicago is and at all times mentioned herein was a

municipality organized and operating under the statutes of the State of Illinois. It is

authorized under the statutes of the State of Illinois to maintain the Chicago Police

Department, which acts as the City’s agent in the areas of municipal law




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enforcement, and for which the City is ultimately responsible. Defendant City was,

at all times material to this Complaint, the employer and principal of the Defendant

Officers.

      9.     Defendant Officers Bruce Phipps, Wilfredo Torres, Jr., and John Does

are City of Chicago employees with the CPD. At all times relevant to the events at

issue in this case, these defendants were acting under color of law and within the

scope of their employment with the CPD. They are sued in their individual capacity

for violating Plaintiff’s rights under the U.S. Constitution and Illinois state law.

                            FACTUAL ALLEGATIONS

      10.    On May 25, 2020, Minneapolis police officers murdered George Floyd

when they suffocated him to death while he was handcuffed in a prone position on

the ground in broad daylight on the street. Floyd’s murder and the police murder of

Breonna Taylor in her home in Louisville, Kentucky, in addition to recent police

murders of too many other Black people throughout the United States, sparked the

largest movement for justice in the history of the United States and has included

protests around the world against anti-Black police violence, white supremacy,

systemic racism, and inequality.

      11.    On August 15, 2020, Plaintiff attended a demonstration downtown led

by Black youth calling for defunding CPD, CPD out of Chicago Public Schools, and

abolishing ICE.

      12.    Plaintiff went to the protest alone, riding her bicycle downtown after

getting off of work.




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      13.    By the time Plaintiff joined the protest, the march had already begun.

Plaintiff observed a significant number of protesters suffering from the effects of

chemical weapons deployed by Chicago police officers.

      14.    Plaintiff proceeded alongside the protest by bicycle. As the protesters

marched down LaSalle Street, Plaintiff was toward the back of the crowd.

      15.    Without cause or justification, multiple unidentified Chicago police

officers grabbed hold of Plaintiff, as well as Plaintiff’s backpack and bicycle.

      16.    Defendant Officers tugged Plaintiff, the backpack, and the bicycle,

pulling Plaintiff in opposite directions. One Defendant Officer yanked Plaintiff’s

bicycle in a manner that caused the saddle of the bicycle to forcefully strike Plaintiff

between the legs, causing significant pain.

      17.    Defendant Officers then ripped Plaintiff away from the bicycle and

flung Plaintiff to the ground.

      18.    Defendant Officers struck Plaintiff multiple times about the body,

including striking Plaintiff with riot shields and batons.

      19.    Defendant Officers then handcuffed Plaintiff with plastic flex cuffs.

Defendant Officers tightened these cuffs in such an extreme and unreasonable

manner that it caused extreme pain.

      20.    Plaintiff was placed in a police squadrol and held in police lockup with

other protesters who had been sprayed with chemical weapons. The volume and

intensity of these chemical agents were so strong that being in close proximity to

the other protesters caused Plaintiff to suffer the effects. Plainitff had difficulty




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breathing and felt a burning sensation on her skin for a number of days following

the incident.

      21.       Chicago police officers attempted to interrogate Plaintiff and other

protesters while they were in police custody. Chicago police officers approached

Plaintiff and the other individuals being held in a cell, displayed photographs of

other protesters, and requested that the arrestees identify the individuals in the

photographs. The officers did not read Miranda rights as part of this attempt to

interrogate them.

      22.       Chicago police officers directed insulting, derogatory, and misogynistic

comments toward Plaintiff and other people in custody, including calling them

“stupid girls.”

      23.       The following day on August 16, 2020, Plaintiff was released from

custody and falsely charged with a misdemeanor count of “Mob Action.” On the

arrest report for this false charge, Defendant Officer Torres was listed as the

“Arresting Officer” and Defendant Officer Phipps was listed as the “Attesting

Officer.”

      24.       Plaintiff suffered physical injuries from a result of the Defendant

Officers’ violence, including bruises and lacerations to the arms, legs, wrists, ankles,

and other parts of Plaintiff’s body. Plaintiff also suffered pain in the hands and

wrists as a result of Defendant Officers placing handcuffs on Plaintiff’s wrists in an

unnecessary manner.

      25.       Plaintiff sought medical treatment for these injuries and was referred




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to a neurologist for the damage to Plaintiff’s hands and wrists. To this day, Plaintiff

continues to have loss of feeling in the palms as a result of the Defendant Officers’

unlawful actions.

      26.    Plaintiff retrieved the bicycle from a police station after being released

from custody. The bicycle was damaged while in police custody, including both tires

having been slashed. Plaintiff brought the bicycle to be repaired at a bike shop,

paying out of pocket for the parts and repairs.

      27.    On September 15, 2020, Plaintiff appeared in Cook County Court to

face the false charge of “Mob Action.” On that date, the Cook County State’s

Attorney’s Office made a Motion to Strike With Leave to Reinstate, essentially

dismissing the case against Plaintiff.

      28.    As a result of the Defendant Officers’ unlawful actions, Plaintiff has

suffered and continues to suffer significant emotional distress. Following this

incident, Plaintiff returned to see a therapist in order to address the trauma and

emotional distress caused by Defendants’ actions.

      29.    Plaintiff did not physically attack, assault, threaten, or resist the

Defendant Officers or any other Chicago police officer at any time or in any way.

      30.    Plaintiff did not commit any unlawful act and was engaging in

constitutionally protected activity.

      31.    As a direct and proximate result of the Defendant Officers’ actions as

detailed above, Plaintiff suffered and continues to suffer, inter alia, bodily injuries,

as well as pain and suffering, extreme mental distress, anguish, and fear.




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                          COUNT I – 42 U.S.C. § 1983
            Violation of the Fourth Amendment – Excessive Force

      32.    Each paragraph of this Complaint is incorporated as if restated fully

herein.

      33.    Count I is alleged against all Defendant Officers.

      34.    The actions of the Defendant Officers described above constituted

unreasonable and excessive force, without legal cause, in violation of Plaintiff’s

rights under the Fourth and Fourteenth Amendments to the United States

Constitution.

      35.    The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice and knowing disregard for Plaintiff’s

clearly established constitutional rights.

      36.    The actions of the Defendant Officers were the direct and proximate

cause of the violations of Plaintiff’s constitutional rights, bodily injury, pain,

suffering, mental distress, anguish, humiliation, and loss of personal freedom, as set

forth more fully above.

                          COUNT II – 42 U.S.C. § 1983
   Violation of the First Amendment – Freedom of Speech and Assembly,
                  Intimidation and Retaliatory Use of Force

      37.    Each paragraph of this Complaint is incorporated as if restated fully

herein.

      38.    Count II is alleged against all Defendant Officers.

      39.    As described in detail above, Plaintiff participated in lawful,

constitutionally protected activity on the public streets of the City of Chicago.



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      40.    The actions of the Defendant Officers described above violated

Plaintiff’s rights to freedom of speech and assembly guaranteed by the First and

Fourteenth Amendments to the United States Constitution, in that Plaintiff was

abruptly prevented from further exercising these rights and suffered retaliation for

having exercised these rights.

      41.    The Defendant Officers retaliated against Plaintiff for engaging in

protected speech by subjecting Plaintiff to excessive force without legal justification.

Plaintiff’s protected speech was the substantial and motivating factor for the

Defendant Officers’ use of force. The Defendant Officers’ actions were intended to

make Plaintiff and other people engaging in constitutionally-protected speech at the

protests wary of continuing to engage in such protected activities in the future and

specifically to chill their rights guaranteed under the First Amendment.

      42.    At all relevant times, the Defendant Officers were aware that Plaintiff

was engaged in constitutionally-protected speech when they violated Plaintiff’s

rights. The misconduct described in this Count was objectively unreasonable and

was undertaken intentionally, with malice and knowing disregard for Plaintiff’s

clearly established constitutional rights.

      43.    The actions of the Defendant Officers were the direct and proximate

cause of the violations of Plaintiff’s constitutional rights, bodily injury, pain,

suffering, mental distress, anguish, humiliation, and loss of personal freedom, as set

forth more fully above.

                            COUNT III – 42 U.S.C. § 1983




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            Violation of the Fourth Amendment – Unlawful Search
                            and Seizure of Property

     44.     Each paragraph of this Complaint is incorporated as if restated fully

herein.

     45.     Count III is alleged against all Defendant Officers.

     46.     The actions of the Defendants in falsely detaining Plaintiff and seizing

Plaintiff’s property without reasonable suspicion or probable cause violated

Plaintiff’s Fourth Amendment right to be free from unreasonable search and

seizure, and thus violated 42 U.S.C. § 1983.

     47.     The actions of the Defendants were the direct and proximate cause of

the violations of Plaintiff’s Fourth Amendment rights, deprivation of property,

damage to personal property, bodily injury, pain, suffering, mental distress,

anguish, humiliation, and loss of liberty, as set forth more fully above.

                        COUNT IV – 42 U.S.C. § 1983
                Violation of Fourth Amendment – False Arrest

     48.     Each paragraph of this Complaint is incorporated as if restated fully

herein.

     49.     Count IV is alleged against all Defendant Officers.

     50.     The actions by the Defendant Officers in falsely detaining, arresting,

and imprisoning Plaintiff without reasonable suspicion or probable cause violated

Plaintiff’s Fourth and Fourteenth Amendment rights to be free from unreasonable

search and seizure.




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      51.     The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice and knowing disregard for Plaintiff’s

clearly established constitutional rights.

      52.     The actions of the Defendant Officers were the direct and proximate

cause of the violations of Plaintiff’s constitutional rights, bodily injury, pain,

suffering, mental distress, anguish, humiliation, and loss of personal freedom, as set

forth more fully above.

                          COUNT V – 42 U.S.C. § 1983
            Conspiracy to Deprive Plaintiff of Constitutional Rights

      53.     Each paragraph of this Complaint is incorporated as if restated fully

herein.

      54.     Count V is alleged against all Defendant Officers.

      55.     Each of the Defendant Officers, acting in concert with other known and

unknown co-conspirators, conspired by concerted action to accomplish an unlawful

purpose by unlawful means.

      56.     Each of the Defendant Officers took concrete steps to enter into an

agreement to unlawfully use force on Plaintiff and unlawfully detain and arrest

Plaintiff, knowing they lacked reasonable suspicions or probable cause to do so, and

for the purpose of violating Plaintiff’s First, Fourth, and Fourteenth Amendment

rights.

      57.     In furtherance of this conspiracy, each of the Defendant Officers

committed specific overt acts, misusing their police powers for the purpose of




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violating Plaintiff’s rights. They accomplished this goal by using excessive force on

and unlawfully arresting Plaintiff.

     58.     Each individual Defendant Officer is therefore liable for the violation

of Plaintiff’s rights by any other individual Defendant Officer.

     59.     As a direct and proximate result of the Defendant Officers’ conspiracy,

Plaintiff suffered damages, including bodily injury, pain, suffering, mental distress,

anguish, humiliation, loss of personal freedom, deprivation of and damage to

property, and legal expenses, as set forth more fully above.

                           COUNT VI – 42 U.S.C. § 1983
                             Failure to Intervene

     60.     Each paragraph of this Complaint is incorporated as if restated fully

herein.

     61.     Count VI is alleged against all Defendant Officers.

     62.     During the events described above, Defendant Officers stood by

without intervening to prevent the violation of Plaintiff’s constitutional rights under

the First, Fourth, and Fourteenth Amendments, even though they had the

opportunity and duty to do so.

     63.     The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice and knowing disregard for Plaintiff’s

clearly established constitutional rights.

As a direct and proximate result of the Defendant Officers’ failure to intervene,

Plaintiff suffered damages, including bodily injury, pain, suffering, mental distress,

anguish, humiliation, loss of personal freedom, as set forth more fully above.



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                          COUNT VII – State Law Claim
                            Malicious Prosecution

     64.     Each paragraph of this Complaint is incorporated as if restated fully

herein.

     65.     Count VII is alleged against all Defendant Officers.

     66.     Defendants, jointly and/or in conspiracy, initiated and continued a

malicious prosecution without probable cause against Plaintiff.

     67.     The prosecution of Plaintiff terminated in Plaintiff’s favor and in a

manner that is indicative of innocence.

     68.     The Defendant Officers’ actions were committed in a willful and

wanton manner.

     69.     The Defendants’ actions directly and proximately caused injury and

damage as set forth above.

                         COUNT VIII – State Law Claim
                            Respondeat Superior

     70.     Each paragraph of this Complaint is incorporated as if restated fully

herein.

     71.     Count VIII is alleged against Defendant City of Chicago.

     72.     In committing the acts alleged in this Complaint, each of the

individual Defendant Officers were members of, and agents of, the CPD, acting at

all relevant times within the scope of their employment.

     73.     Defendant City of Chicago is liable as principal for all torts in violation

of state law committed by its agents.




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                          COUNT IX – State Law Claim
                              Indemnification

     74.     Each paragraph of this Complaint is incorporated as if restated fully

herein.

     75.     Count XIII is alleged against Defendant City of Chicago.

     76.     In Illinois, pursuant to 735 ILCS 10/9-102, public entities are directed

to pay any tort judgment for compensatory damages for which employees are liable

within the scope of their employment activities

     77.     The Defendant Officers acted within the scope of their employment in

committing the misconduct described herein. Therefore, Defendant City of Chicago

is liable as their employer for any resulting damages or award of attorney’s fees.



                             REQUEST FOR RELIEF

      WHEREFORE, Plaintiff requests that this Court enter judgment in

Plaintiff’s favor against the Defendants in the following manner:

      1.     Award Plaintiff compensatory and punitive damages.

      2.     Award Plaintiff reasonable attorneys’ fees, costs, and expenses

pursuant to 42 U.S.C. § 1988.

      3.     Award Plaintiff such other and further relief as this Court may deem

appropriate and just.

                                 JURY DEMAND

      Plaintiff demands trial by jury.




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Dated: September 13, 2021            Respectfully submitted,


                                     /s/ Brad J. Thomson
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